    Case: 1:20-cv-05640 Document #: 23 Filed: 06/04/21 Page 1 of 5 PageID #:105




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GABRIEL ROJAS,                                        )
                                                      )
                       Plaintiff,                     )       Case No. 20CV5640
                                                      )
       v.                                             )
                                                      )       Judge Steven C. Seeger
OFFICER OROZCO,                                       )
                                                      )
                       Defendants.                    )

                DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS

       NOW COME Defendants, Corrections Officer Orozco, Corrections Officer Hidalgo, and

Sergeant Gumbel (collectively “Defendants”), by and through their attorney, KIMBERLY M. FOXX,

State’s Attorney of Cook County, through her Assistant State’s Attorney, Rachael D. Wilson, and

submit DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS. In reply in support of their

Motion, Defendants state:

                        INTRODUCTION AND PROCEDURAL BACKGROUND

       Plaintiff Gabriel Rojas, pro se, mailed Plaintiff’s Complaint on September 14, 2020,

alleging a Section 1983 excessive force claim against Defendants. Dkt. 1. Defendants waived

service on December 31, 2020 and moved to stay proceedings on January 20, 2021. Dkts. 10, 11.

The Court granted the stay until resolution of Plaintiff’s criminal matter. Dkt. 12. On April 7, 2021,

the Court lifted the stay and set a briefing schedule for Defendant’s Motion to Dismiss. Dkt. 14.

Defendants filed their Motion to Dismiss on April 23, 2021. Dkt. 16. On April 23, 2021, the Court

reset the briefing schedule for Defendant’s Motion to Dismiss, with Plaintiff’s response brief due

on or before May 21, 2021, and Defendants’ reply brief due on or before June 4, 2021. Dkt. 18.

On April 29, 2021, the Court directed Defendants to mail Plaintiff their motion to his new address.

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    Case: 1:20-cv-05640 Document #: 23 Filed: 06/04/21 Page 2 of 5 PageID #:106




Dkt. 19. Defendants did so. Dkt. 22. Plaintiff mailed the Court a letter, which the Court held to be

a request for production under Federal Rule of Civil Procedure 34. Dkts. 20, 21. Other than

Plaintiff’s letter [Dkt. 20], Defendants have not had communication from Plaintiff, and to date,

Plaintiff has failed to respond to Defendants’ Motion to Dismiss.

                                           ARGUMENT

       I. Plaintiff has failed to respond to Defendants’ Motion to Dismiss.

       As of this filing, Plaintiff has not responded to Defendants’ Motion to Dismiss. “A party’s

failure to respond to arguments the opposing party makes in a motion to dismiss operates as a

waiver or forfeiture of the claim and an abandonment of any argument against dismissing the

claim.” Golbeck v. Johnson Blumberg & Associates, LLC., 2017 U.S. Dist. LEXIS 112493, at *16

(N.D. Ill. 2017) (internal quotations and citations omitted) (Dow, J.). “The federal courts will not

invent legal arguments for litigants; the non-moving party must proffer some legal basis to support

his cause of action when faced with a motion to dismiss.” Id.

       Plaintiff failed to respond to Defendants’ Motion to Dismiss within the briefing schedule

set by the Court. Although Plaintiff is pro se, Plaintiff has demonstrated his knowledge and

understanding of obligations to the Court by updating his address, albeit untimely. See Dkt. 20.

Due to Plaintiff’s failure to timely respond to Defendants’ Motion to Dismiss, Plaintiff has waived

any arguments he could have made against Defendants’ Motion to Dismiss. Golbeck, 2017 U.S.

Dist. LEXIS 112496, at *16. “By failing to respond responsively to the motion to dismiss, plaintiff

forfeited his rights to continue litigating his claim.” Id. Accordingly, Defendants stand on the

arguments asserted in their Motion to Dismiss. Dkt. 16. Therefore, the Court should dismiss

Plaintiff’s claims with prejudice because Plaintiff: (1) failed to follow Court orders; (2) provided

false information to the court committing fraud on the court; and (3) has no physical injury.



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     Case: 1:20-cv-05640 Document #: 23 Filed: 06/04/21 Page 3 of 5 PageID #:107




        First, although Plaintiff did inform the Court of his new address, Plaintiff failed to do so

timely. Plaintiff was rendered into the custody of the Illinois Department of Corrections on March

26, 2021. See Ex. A.1 Plaintiff did not mail his letter to the Court updating his address until April

26, 2021, a month later. Not only did Plaintiff fail to update his address timely, Plaintiff has also

failed to respond to Defendants motion as the Court ordered. Defendants mailed a second copy of

their Motion to Dismiss to Plaintiff as the Court ordered on April 29, 2021. Dkt. 22. The Court

issued multiple orders with Plaintiff’s response date included on the orders, yet Plaintiff did not

respond. Therefore, Plaintiff failed to follow the Court’s orders.

        Second, Plaintiff committed fraud on the court in his form complaint when he signed the

form complaint attesting that the statements made were true and accurate. See Martin v. Fowler,

804 Fed. App’x 414 (7th Cir. 2020) (false statements in request for counsel); Donelson v. Hardy,

931 F.3d 565 (7th Cir. 2019) (false assertions during discovery, among other concerns); Aguilar

v. Goldberg, 770 Fed. App’x 293 (7th Cir. 2019) (misrepresentation in his in forma pauperis);

Hoskins v. Dart, 633 F.3d 541 (7th Cir. 2011) (misrepresentation in legislative history); O’Conner

v. Chi. Bd. Of Educ., 790 Fed. App’x 801 (7th Cir 2019) (misrepresentations on financial affidavit

were supported by the record and intentional); Ayoubi v. Dart, 640 Fed. App’x 524 (7th Cir. 2016)

(finding that the plaintiff lied in his requests for greater law library access). Plaintiff stated that no

criminal charges had been filed regarding the incident of his complaint when he was on notice that

charges had been filed. According to the certified docket sheets filed with Defendants’ Motion to

Stay, Plaintiff was arraigned for the charges arising out of the alleged incident in the federal



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  The Court may take judicial notice of Plaintiff’s transfer to Illinois Department of Corrections
custody. Ennenga v. Starns, 677 F.3d 766, 773-74 (7th Cir. 2012) (“A court may take judicial
notice of facts that are (1) not subject to reasonable dispute and (2) either generally known within
the territorial jurisdiction or capable of accurate and ready determination through sources whose
accuracy cannot be questions.”).
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    Case: 1:20-cv-05640 Document #: 23 Filed: 06/04/21 Page 4 of 5 PageID #:108




complaint on July 28, 2020. Dkt. 11, Ex. A. Prior to Plaintiff filing a federal complaint, the state

criminal court held four court appearances of which Plaintiff was in attendance at least once. Id.

at 1-2. Plaintiff wrote, signed, and dated his federal complaint on September 14, 2020, certifying

that the facts in the complaint were true to the best of his knowledge, information, and belief, six

weeks after his arraignment. Accordingly, Plaintiff’s complaint should be dismissed with prejudice

for fraud on the court.

       Lastly, Plaintiff has no physical injury to demand compensatory damages. Under the Prison

Litigation Reform Act (“PLRA”), a person confined in jail cannot file a federal civil action for

mental or emotional injury suffered during custody “without a prior showing of physical injury.”

42 U.S.C. §1997e(e). A plaintiff cannot bring suit without a physical injury greater than de

minimis. 42 U.S.C. §1997e(e), (h). See Wade v. Haida, 2013 U.S. Dist. LEXIS 119992 at *17-18

(S.D. Ill. 2013) (citing Harris v. Fleming, 839 F.2d 1232, 1235 (7th Cir. 1988)). See Granville v.

Dart, 2011 U.S. Dist. LEXIS 25683, at *16 (N.D. Ill. 2011) (“Even shocks from exposed wiring

have been found to be primarily an easily avoided, unpleasant inconvenience.”) (citing Morissette

v. Peters, 45 F.3d 1119, 1124 (7th Cir. 1995)); Pearson v. Welborn, 471 F.3d 732, 744 (7th Cir.

2006) (The Seventh Circuit cited two cases in which the Court explains a “prisoner’s weight loss,

appetite loss, and insomnia after an alleged constitutional violation is not a physical injury.”).

Plaintiff has only alleged that he was at higher risk of being hurt from being maced within one

foot, which is not actionable under the PLRA. See Dkt. 7 at 6. Plaintiff, however, does not allege

any injury, damage, or harm any of the allegations caused. Although the Court will view a pro se

complaint liberally, Plaintiff must at least allege a fact suggesting that Plaintiff sustained a

justiciable harm. Brown v. Wexford Health Sources, 2014 U.S. Dist. LEXIS 8177, at *8, 2014 WL

257552 (N.D. Ill. Jan. 23, 2014) (“While the Court will liberally construe a pro se litigant’s



                                                 4
    Case: 1:20-cv-05640 Document #: 23 Filed: 06/04/21 Page 5 of 5 PageID #:109




complaint, the Court cannot assert Plaintiff’s claims for him.”). Plaintiff has failed to state a claim

for justiciable relief, and therefore his claims should be dismissed with prejudice.

                                            CONCLUSION

       WHEREFORE, as Plaintiff waived his arguments and forfeited his claims by failing to

respond to Defendants’ Motion to Dismiss, Defendants stand on their original brief and

respectfully request that the Court dismiss Plaintiff’s Complaint for failure to follow court orders,

providing false information to the court, and failure to allege an injury. Moreover, Defendants

request that the Court stay any responsive pleadings in this matter until the Court rules on this

motion.


                                                       Respectfully submitted,

                                                       KIMBERLY M. FOXX
                                                       State’s Attorney of Cook County

                                               By:     /s/ Rachael D. Wilson
                                                       Assistant State’s Attorney
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                                                       Attorney No. 6333553

                                     CERTIFICATE OF SERVICE

       I hereby certify that I have caused true and correct copies of the above and foregoing to
 be served on Plaintiff pursuant to ECF, in accordance with the rules of electronic filing of
 documents on this 4th day of June, 2021.

Gabriel Rojas
M47240
Hill – HIL
Hill Correctional Center
P.O. Box 1700
Galesburg, IL 61401

                                                       /s/ Rachael D. Wilson
                                                          Rachael D. Wilson

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